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 1 MCGREGOR W. SCOTT
   United States Attorney
 2 ANGELA SCOTT
   Assistant United States Attorney
 3 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4099
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 6 Attorneys for Plaintiff
   United States of America
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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 1:18-CR-00246 DAD-BAM
12                                 Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                           v.                           FINDINGS AND ORDER
14   RUBEN CORTEZ-ROCHA                                   DATE: August 3, 2020
                                                          TIME: 9:00 A.m.
15                                 Defendants.            COURT: Hon. Dale A. Drozd
16

17          Defendant Ruben CORTEZ-ROCHA (defendant) is scheduled for a change-of-plea hearing on

18 August 3, 2020. On May 13, 2020, this Court issued General Order 618, which suspends all jury trials

19 in the Eastern District of California until further notice, and allows district judges to continue all
20 criminal matters. This and previous General Orders were entered to address public health concerns

21 related to COVID-19.

22          Although the General Orders address the district-wide health concern, the Supreme Court has

23 emphasized that the Speedy Trial Act’s end-of-justice provision “counteract[s] substantive

24 openendedness with procedural strictness,” “demand[ing] on-the-record findings” in a particular case.

25 Zedner v. United States, 547 U.S. 489, 509 (2006). “[W]ithout on-the-record findings, there can be no

26 exclusion under” § 3161(h)(7)(A). Id. at 507. Moreover, any such failure cannot be harmless. Id. at

27 509; see also United States v. Ramirez-Cortez, 213 F.3d 1149, 1153 (9th Cir. 2000) (explaining that a

28 judge ordering an ends-of-justice continuance must set forth explicit findings on the record “either orally

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 1 or in writing”).

 2          Based on the plain text of the Speedy Trial Act—which Zedner emphasizes as both mandatory

 3 and inexcusable—General Orders 611, 612, and 617 require specific supplementation. Ends-of-justice

 4 continuances are excludable only if “the judge granted such continuance on the basis of his findings that

 5 the ends of justice served by taking such action outweigh the best interest of the public and the

 6 defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A). Moreover, no such period is excludable unless

 7 “the court sets forth, in the record of the case, either orally or in writing, its reason or finding that the

 8 ends of justice served by the granting of such continuance outweigh the best interests of the public and

 9 the defendant in a speedy trial.” Id.

10          The General Orders exclude delay in the “ends of justice.” 18 U.S.C. § 3161(h)(7) (Local Code

11 T4). Although the Speedy Trial Act does not directly address continuances stemming from pandemics,

12 natural disasters, or other emergencies, this Court has discretion to order a continuance in such

13 circumstances. For example, the Ninth Circuit affirmed a two-week ends-of-justice continuance

14 following Mt. St. Helens’ eruption. Furlow v. United States, 644 F.2d 764 (9th Cir. 1981). The court

15 recognized that the eruption made it impossible for the trial to proceed. Id. at 767-68; see also United

16 States v. Correa, 182 F. Supp. 326, 329 (S.D.N.Y. 2001) (citing Furlow to exclude time following the

17 September 11, 2001 terrorist attacks and the resultant public emergency). The coronavirus is posing a

18 similar, albeit more enduring, barrier to the prompt proceedings mandated by the statutory rules.

19          In light of the societal context created by the foregoing, this Court should consider the following

20 case-specific facts in finding excludable delay appropriate in this particular case under the ends-of-

21 justice exception, § 3161(h)(7) (Local Code T4). 1 If continued, this Court should designate a new date

22 for the change-of-plea hearing. United States v. Lewis, 611 F.3d 1172, 1176 (9th Cir. 2010) (noting any

23 pretrial continuance must be “specifically limited in time”).

24                                                 STIPULATION

25          Plaintiff United States of America, by and through its counsel of record, and defendant RUBEN

26 CORTEZ-ROCHA, by and through defendant’s counsel of record, Victor Sherman, hereby stipulate as

27
            1
            The parties note that General Order 612 acknowledges that a district judge may make
28 “additional findings to support the exclusion” at the judge’s discretion. General Order 612, ¶ 5 (E.D.
   Cal. March 18, 2020).
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 1 follows:

 2          1.      By previous order, this matter was set for a change-of-plea hearing on August 3, 2020.

 3          2.      By this stipulation, defendant now moves to continue the change-of-plea hearing until

 4 November 2, 2020 at, and to exclude time between August 3, 2020, and November 2, 2020 at, under

 5 Local Code T4.

 6          3.      Defendant has reached a plea agreement with the government, which has been filed in

 7 this case. Defendant recognizes that he likely will be remanded upon changing his plea and, in light of

 8 the COVID-19 pandemic, seeks a continuance. Additionally, defendant is the sole support for his family

 9 none of whom other than the defendant are presently employed. Without his income, his other family

10 members would be financially strapped. If, however, defendant ultimately does not enter his guilty plea

11 and decides to proceed to trial, the parties agree and stipulate, and request that the Court find the

12 following:

13                  a)      The government has represented that the discovery associated with this case

14          includes over 100 pages of reports and photographs, as well as over 40 audio recordings, many

15          of which are in a foreign language. This discovery has been produced directly to counsel.

16                  b)      Counsel for defendant desires additional time to review the current charges, to

17          review the discovery, to conduct research and investigation related to the charges and potential

18          pretrial motions, and to consult with his client.

19                  c)      Counsel for defendant has various conflicts in other cases between now and the

20          proposed November 2, 2020 hearing that would not reasonably permit him to try this case any

21          time between now and at least November 2, 2020.

22                  d)      Counsel for defendant believes that failure to grant the above-requested

23          continuance would deny him the reasonable time necessary for effective preparation, taking into

24          account the exercise of due diligence.

25                  e)      Based on the above-stated findings, the ends of justice served by continuing the

26          case as requested outweigh the interest of the public and the defendants in a trial within the

27          original date prescribed by the Speedy Trial Act.

28                  f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

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 1          et seq., within which trial must commence, the time period of August 3, 2020 to November 2,

 2          2020 at, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(i) and (iv)

 3          because it results from a continuance granted by the Court at defendant’s request on the basis of

 4          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

 5          of the public and the defendants in a speedy trial.

 6          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

 7 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 8 must commence.

 9          IT IS SO STIPULATED.

10

11
     Dated: July 25, 2020                                     MCGREGOR W. SCOTT
12                                                            United States Attorney
13
                                                              /s/ ANGELA SCOTT
14                                                            ANGELA SCOTT
                                                              Assistant United States Attorney
15

16
     Dated: July 25, 2020                                     /s/ per email authorization
17                                                            VICTOR SHERMAN
18                                                            Counsel for Defendant
                                                              RUBEN CORTEZ-ROCHA
19
20
                                            FINDINGS AND ORDER
21
            IT IS SO ORDERED the change-of-plea hearing currently set for August 3, 2020, is continued to
22
     November 2, 2020 at 10:00am in Courtroom 5. Time is excluded between August 3, 2020, and
23
     November 2, 2020 at, under Local Code T4.
24
     IT IS SO ORDERED.
25
        Dated:    July 27, 2020
26                                                     UNITED STATES DISTRICT JUDGE
27

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